  Case 2:09-cr-00863-SRC      Document 27      Filed 01/06/10    Page 1 of 7 PageID: 75



                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA               :     Hon.    Stanley R.      Chesler

               v.                       :     Crim.    No.   09-863    (SRC)

 MICHAEL C.     SCIARRA,    et al.            ORDER


               This matter having come before the Court on the joint

 application of Paul J.          Fishman,    United States Attorney for the

 District of New Jersey          (by Leslie Faye Schwartz,            Assistant U.S.

Attorney),      and defendants Michael C.            Sciarra    (by Edmund DeNoia,

Esq.),   Peter Ventricelli         (by Michael N.       Pedicini,      EsqJ,    Michael

A.   Sciarra    (by Anthony J.       Pope,   Esq.),   and Mark Ventricelli         (by
Gerald D.      Miller,   Esq.)   for an order declaring this matter to be

a complex case pursuant to Title 18,               United States Code,          Section

3161(h) (7) (B) (ii);      and the defendants being aware that absent

such a finding that they would have a right to be
                                                  right to be

tried within 70 days of the date of their first appear
                                                       ance before

a judicial officer in this district in connec
                                              tion with this

matter pursuant to Title 18 of the United States
                                                 Code,                     Section

3161(c) (1),    and the charges being the result of a lengthy

investigation and the defendants needing sufficient
                                                    time to

review extensive discovery and to investigate
                                              the charges and

file motions in this case;           and Paul J.      Fishman,    United States

Attorney for the District of New Jersey                (Leslie Faye Schwartz,

Assistant U.S.      Attorney,     appearing)    having concurred in the

assertion that this matter is complex as defined in the
                                                        statute;
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  Case 2:09-cr-00863-SRC    Document 27    Filed 01/06/10       Page 3 of 7 PageID: 77



                                                                l               for
           8.     The grant of a continuance will enable counse

                                              ery,                 prepare
the defendants to adequately review the discov

motions,   and proceed with trial

                  Pursuant to Title 18,     United States Code,           Section
            9.

3161(h) (8),     the ends of justice served by granting the

                                               public and the
continuance outweigh the best interests of the

defendants in a speedy trial.

            WHEREFORE,     it is on this            day of

                                                            complex
            ORDERED that this matter is hereby designated a

case;

                                                          the
            IT IS FURTHER ORDERED that the proceedings in

                                                   3,                   2009 and
above-captioned matter are continued from December

January 31,      2010;

                                                                   ber
               IT IS FURTHER ORDERED that the period between Decem

3,   2009 and January 29,     2010 shall be excludable in computing

time under the Speedy Trial Act of 1974;

                                                               file
               IT IS FURTHER ORDERED that the defendants shall

their motions no later than January 29,           2010;     and

                                                                    in
               IT IS FURTHER ORDERED that a schedule of proceedings

                                                     s have been
this matter shall be set once the defendant’s motion

 filed.


                                                            ,
                                               ...>_ —.

                                          HON. STNtEi CHESLER
                                          United States District Judge
  Case 2:09-cr-00863-SRC   Document 27   Filed 01/06/10   Page 4 of 7 PageID: 78




Coxsed and Agreed to fo and entry by:


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/tehie Faye Schiaz,
 Assis:ant U.S. Attbrney N



 Edmund DeNoia, sc1.
 Counse  for Michael C,    Sciarra



            Pdicini Esq.
 Michael N. 1
 Counsel for Eeter Ventricelli



 Anthony J. rope, Esq.
 Counsel for Michael A.    Sciarra




 ereld D, Miller, Esq.
 Counsel for Mark Ventricelli
 Case 2:09-cr-00863-SRC   Document 27   Filed 01/06/10   Page 5 of 7 PageID: 79



 Corisented and Agreed to   form and entry by:


 Leslie Faye Schwartz,
 Assistant U5. Attorney



 Edmund DeNcia, Eq.
 Counsel for Michael C.     Sciarra




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 Anthony J. ope,Esq.
 Counsel for Michael A.     Scarra



 Gerald D. Miller, sq.
 Counsel for Mark Ventricelli




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Case 2:09-cr-00863-SRC   Document 27   Filed 01/06/10   Page 6 of 7 PageID: 80




Consented and Agreed to form and entry by:



Leslie Faye Schwartz,
Assistant s. Attorney



Edmund DeNcia, Esq,
Counsel for Michael C.   Sciarra



Michael N. Pedicini, Esq.
Counsel for Peter Ventricelli



Anthony J. Pope, Esq.
Counsel for Michael A.   Sciarra



Gerald C. Miller, Esq.      -




Counsel for Mark Ventricelli
  Case 2:09-cr-00863-SRC   Document 27   Filed 01/06/10   Page 7 of 7 PageID: 81



Consented and Agreed to form and entry by



Leslie Faye Schwartz,
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Gea1d D. Miller, sq.
5unsel for Mark Ventricelli
